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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION


UNITED STATES OF AMERICA                                                                 PLAINTIFF

vs.                                     NO. 4:04CR00291-11 JLH

MATHEW NORWOOD                                                                         DEFENDANT


                                               ORDER

       Court convened on Thursday, February 5, 2009, for a hearing on the government’s motion

and supplemental motion to revoke defendant’s supervised release. Documents #751 and #757.

United States Attorney Jane Duke was present for the government. The defendant appeared in

person with his attorney, Assistant Federal Public Defender Chris Tarver. United States Probation

Officer Tony Villegas was also present.

       Upon inquiry from the Court, the defendant did not contest the allegations contained in the

motions. Following statements from counsel and the defendant, the Court determined that the

motions to revoke should be granted. Documents #751 and #757.

       IT IS THEREFORE ORDERED that the defendant is sentenced to a term of imprisonment

of TIME SERVED. The defendant’s conditions of supervised release are hereby modified to include

the following:

       •         The defendant must participate in and successfully complete an in-patient substance
                 abuse treatment program as directed by the United States Probation Office for a
                 period of time to be determined .

       •         Upon successful completion of the substance abuse treatment program, defendant
                 will enter a chemical-free living program as directed by the United States Probation
                 Office for the remainder of his term of supervised release, currently set to expire on
                 November 28, 2009.
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       In the event the defendant is found to be in violation of his conditions of supervised release,

or is terminated from either the in-patient substance abuse treatment program or the chemical-free

living program, prior to November 28, 2009, the government is directed to submit the appropriate

motion and the Court will conduct a hearing.

       The defendant will remain in the custody of the United States Marshal until space becomes

available at the designated in-patient substance abuse treatment facility.

       All other conditions of supervised release remain in full force and effect as previously

imposed.

       IT IS SO ORDERED this 5th day of February, 2009.




                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
